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/-F-Z0Z0

TO! HONRABLE JUDGE Lawrence TJ VilLarpe
UNITED STOTES LbuRTHOVSE
BUFFALO , At (4202 - 4370

DEAR, TUPGE Laveence JT Vilarpo

MY NAME (5S LAWRENLE M. RUSSELL #27413 -L5S, LAs -

[7 -LR~-~YO Abid (8 ~-CR-lO8.. L EILED A 2255 MOTION WITH

YpUR LOYET BALE (IN AUGUST OF 2017 (beLeeT (féra 32).

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bE THE RULES “GOVERNING & 2277 LASES IN THE ON(TED STUTES
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ANSWER TO! THE PETITIUN MO LATER THEN NOVEBER J, ZOIG.

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[§-eR—125°-V, AND IF -2R-YO-V, OW Phage bof FS
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Case 1:17-cr-00040-LJV-JJM Document 143 Filed 01/13/20 Page 2 of 3

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L ALSO ASK. THEAT WA CoP OF Tl) Ss
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THE UNITER STATES PITCENE TL .

THAN “TF Lid.

 
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Laveenice M. USS ELL ZFTYI3 —- OSS RALERON BC ae (neon. eee

Name: * Number:
Federal Medical Center

P.O. Box 1600

Butner, NC 27509

    

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